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                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                    JACKSONVILLE DIVISION

In re:                                                                 Case No. 3:18-bk-00039-PMG
                                                                       Chapter 13
AANDREA DAWN COCHRAN
    Debtor.                                  /

                                             CHAPTER 13 PLAN

A.         NOTICES.

Debtor1 must check one box on each line to state whether or not the Plan includes each of
the following items. If an item is checked as “Not Included,” if both boxes are checked, or if
neither box is checked, the provision will be ineffective if set out later in the Plan.

     A limit on the amount of a secured claim based on a valuation which Included                        Not Included
     may result in a partial payment or no payment at all to the secured
     creditor. See Sections C.5(d) and (e). A separate motion will be filed.                             XXX

     Avoidance of a judicial lien or nonpossessory, nonpurchase money Included                           Not Included
     security interest under 11 U.S.C. § 522(f). A separate motion will be
     filed. See Section C.5(e).                                                                          XXX

     Nonstandard provisions, set out in Section E.                                        Included       Not Included

                                                                                                         XXX


B.         MONTHLY PLAN PAYMENTS. Plan payments include the Trustee’s fee of 10% and
           shall begin 30 days from petition filing/conversion date. Debtor shall make payments to
           the Trustee for the period of __60_ months. If the Trustee does not retain the full 10%, any
           portion not retained will be disbursed to allowed claims receiving payments under the Plan
           and may cause an increased distribution to the unsecured class of creditors.

           $1,269.48 from month 01through 60.




1
    All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two individuals.
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C.      PROPOSED DISTRIBUTIONS.

        1.     ADMINISTRATIVE ATTORNEY’S FEES.


        Base Fee $3,500.00_ Total Paid Prepetition $665.00__ Balance Due $2,835.00__

        MMM Fee $_________ Total Paid Prepetition $__________ Balance Due $________

        Estimated Monitoring Fee at $ ____ per Month.

        Attorney’s Fees Payable Through Plan at $47.25 Monthly (subject to adjustment).

        2.     DOMESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §101(14A).

 Acct. No.                       Creditor                         Total Claim Amount




        3.     PRIORITY CLAIMS (as defined in 11 U.S.C. § 507).


 Last Four Digits of Acct. No.   Creditor                         Total Claim Amount
 9225                            Internal Revenue Service         $15,000.00



       4.       TRUSTEE FEES. From each payment received from Debtor, the Trustee shall
receive a fee, the percentage of which is fixed periodically by the United States Trustee.

       5.      SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors
under the Plan, other than amounts allocated to cure arrearages, shall be deemed adequate
protection payments. The Trustee shall disburse adequate protection payments to secured
creditors prior to confirmation, as soon as practicable, if the Plan provides for payment to the
secured creditor, the secured creditor has filed a proof of claim or Debtor or Trustee has filed a
proof of claim for the secured creditor under § 501(c), and no objection to the claim is pending.
If Debtor’s payments under the Plan are timely paid, payments to secured creditors under the Plan
shall be deemed contractually paid on time.


        (a)    Claims Secured by Debtor’s Principal Residence Which Debtor Intends to
        Retain - Mortgage, HOA and Condo Association Payments, and Arrears, if any, Paid
        Through the Plan. If the Plan provides for curing prepetition arrearages on a mortgage on

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     Debtor’s principal residence, Debtor will pay, in addition to all other sums due under the
     proposed Plan, all regular monthly postpetition mortgage payments to the Trustee as part
     of the Plan. These mortgage payments, which may be adjusted up or down as provided for
     under the loan documents, are due beginning the first due date after the case is filed and
     continuing each month thereafter. The Trustee shall pay the postpetition mortgage
     payments for Debtor’s principal residence on the following mortgage claims:

Last Four      Creditor        Collateral         Regular       Gap             Arrears
Digits of                      Address            Monthly       Payment
Acct. No.                                         Payment




     (b)     Claims Secured by Other Real Property Which Debtor Intends to Retain -
     Mortgage Payments, HOA and Condo Association Payments, and Arrears, if any, Paid
     Through the Plan. If the Plan provides to cure prepetition arrearages on a mortgage, Debtor
     will pay, in addition to all other sums due under the proposed Plan, all regular monthly
     postpetition mortgage payments to the Trustee as part of the Plan. These mortgage
     payments, which may be adjusted up or down as provided for under the loan documents,
     are due beginning the first due date after the case is filed and continuing each month
     thereafter. The Trustee shall pay the postpetition mortgage payments on the following
     mortgage claims:

Last Four      Creditor        Collateral         Regular       Gap             Arrears
Digits of                      Address            Monthly       Payment
Acct. No.                                         Payment




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     (c)     Claims Secured by Real Property - Debtor Intends to Seek Mortgage
     Modification. If Debtor obtains a modification of the mortgage, the modified payments
     shall be paid through the Plan. Pending the resolution of a mortgage modification request,
     Debtor shall make the following adequate protection payments to the Trustee: (1) for
     homestead property, the lesser of 31% of gross monthly income of Debtor and non-filing
     spouse, if any (after deducting homeowners association fees), or the normal monthly
     contractual mortgage payment; or (2) for non-homestead, income-producing property, 75%
     of the gross rental income generated from the property.

Last Four Digits     Creditor                     Collateral Address     Adequate
of Acct. No.                                                             Protection Payment




     (d)    Claims Secured by Real Property or Personal Property to Which Section 506
     Valuation APPLIES (Strip Down). Under 11 U.S.C. § 1322 (b)(2), this provision does
     not apply to a claim secured solely by Debtor’s principal residence. A separate motion to
     determine secured status or to value the collateral must be filed. The secured portion
     of the claim, estimated below, shall be paid. Unless otherwise stated in Section E, the
     payment through the Plan does not include payments for escrowed property taxes or
     insurance.

Last Four    Creditor       Collateral      Claim       Value          Payment    Interest
Digits of                   Description/    Amount                     Through    Rate
Acct. No.                   Address                                    Plan




     (e)    Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off Under 11 U.S.C.
     § 506. Debtor must file a separate motion under § 522 to avoid a judicial lien or a
     nonpossessory, nonpurchase money security interest because it impairs an exemption or
     under § 506 to determine secured status and to strip a lien.

Last Four Digits of Acct.       Creditor                        Collateral Description /
No.                                                             Address




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       (f)      Claims Secured by Real Property and/or Personal Property to Which Section
       506 Valuation DOES NOT APPLY Under the Final Paragraph in 11 U.S.C. § 1325(a).
       The claims listed below were either: (1) incurred within 910 days before the petition date
       and secured by a purchase money security interest in a motor vehicle acquired for the
       personal use of Debtor; or (2) incurred within one year of the petition date and secured by
       a purchase money security interest in any other thing of value. These claims will be paid
       in full under the Plan with interest at the rate stated below.

Last Four         Creditor       Collateral          Claim           Payment      Interest
Digits of                        Description/        Amount          Through      Rate
Acct. No.                        Address                             Plan




       (g)    Claims Secured by Real or Personal Property to be Paid with Interest Through
       the Plan under 11 U.S.C. § 1322(b)(2). The following secured claims will be paid in full
       under the Plan with interest at the rate stated below.

Last Four         Creditor       Collateral          Claim           Payment      Interest
Digits of                        Description/        Amount          Through      Rate
Acct. No.                        Address                             Plan




       (h)   Claims Secured by Personal Property – Maintaining Regular Payments and
       Curing Arrearage, if any, with All Payments in Plan.

Last Four           Creditor            Collateral             Regular         Arrearage
Digits of Acct.                         Description            Contractual
No.                                                            Payment

2659                Ally Financial      2013 Nissan Juke       $300.67         0.00

6812                Carmax              2014          Nissan   $544.61         0.00
                                        Pathfinder




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      (i)     Secured Claims Paid Directly by Debtor. The following secured claims are being
      made via automatic debit/draft from Debtor’s depository account and are to continue to be
      paid directly to the creditor or lessor by Debtor outside the Plan via automatic debit/draft.
      The automatic stay is terminated in rem as to Debtor and in rem and in personam as to any
      codebtor as to these creditors and lessors upon the filing of this Plan. Nothing herein is
      intended to terminate or abrogate Debtor’s state law contract rights.

Last Four Digits of Acct.        Creditor                         Property/Collateral
No.




      (j)     Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the
      following collateral/property. The automatic stay under 11 U.S.C. §§ 362(a) and 1301(a)
      is terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these
      creditors upon the filing of this Plan.

Last Four Digits of Acct.        Creditor                         Collateral/Property
No.                                                               Description/Address




      (k)    Secured Claims That Debtor Does Not Intend to Pay. Debtor does not intend to
      make payments to the following secured creditors. The automatic stay is terminated in rem
      as to Debtor and in rem and in personam as to any codebtor with respect to these creditors
      upon the filing of this Plan. Debtor’s state law contract rights and defenses are neither
      terminated nor abrogated.

Last Four Digits of Acct.        Creditor                         Collateral
No.                                                               Description/Address




       6.      LEASES / EXECUTORY CONTRACTS. As and for adequate protection, the
Trustee shall disburse payments to creditors under leases or executory contracts prior to
confirmation, as soon as practicable, if the Plan provides for payment to creditor/lessor, the
creditor/lessor has filed a proof of claim or Debtor or Trustee has filed a proof of claim for the
secured creditor/lessor under § 501(c), and no objection to the claim is pending. If Debtor’s
payments under the Plan are timely paid, payments to creditors/lessors under the Plan shall be
deemed contractually paid on time.

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       (a)     Assumption of Leases/Executory Contracts for Real or Personal Property to
       be Paid and Arrearages Cured Through the Plan. Debtor assumes the following
       leases/executory contracts and proposes the prompt cure of any prepetition arrearage as
       follows.

 Last Four          Creditor/Lessor      Description of      Regular             Arrearage and
 Digits of Acct.                         Leased              Contractual         Proposed Cure
 No.                                     Property            Payment




       (b)     Assumption of Leases/Executory Contracts for Real or Personal Property to
       be Paid Directly by Debtor. Debtor assumes the following lease/executory contract
       claims that are paid via automatic debit/draft from Debtor’s depository account and are to
       continue to be paid directly to the creditor or lessor by Debtor outside the Plan via
       automatic debit/draft. The automatic stay is terminated in rem as to Debtor and in rem and
       in personam as to any codebtor as to these creditors and lessors upon the filing of this Plan.
       Nothing herein is intended to terminate or abrogate Debtor’s state law contract rights.

 Last Four Digits of Acct.        Creditor/Lessor                   Property/Collateral
 No.




       (c)     Rejection of Leases/Executory Contracts and Surrender of Real or Personal
       Leased Property. Debtor rejects the following leases/executory contracts and will
       surrender the following leased real or personal property. The automatic stay is terminated
       in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors and
       lessors upon the filing of this Plan.

 Last Four Digits of Acct.        Creditor/Lessor                   Property/Collateral to be
 No.                                                                Surrendered




        7.     GENERAL UNSECURED CREDITORS. General unsecured creditors with
allowed claims shall receive a pro rata share of the balance of any funds remaining after payments
to the above referenced creditors or shall otherwise be paid under a subsequent Order Confirming

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Plan. The estimated dividend to unsecured creditors shall be no less than $__________.

D.     GENERAL PLAN PROVISIONS:

       1.     Secured creditors, whether or not dealt with under the Plan, shall retain the liens
              securing such claims.

       2.     Payments made to any creditor shall be based upon the amount set forth in the
              creditor’s proof of claim or other amount as allowed by an Order of the Bankruptcy
              Court.

       3.     If Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b),
              property of the estate shall not vest in Debtor until the earlier of Debtor’s discharge
              or dismissal of this case, unless the Court orders otherwise. Property of the estate

              (a) _______ shall not vest in Debtor until the earlier of Debtor’s discharge or
              dismissal of this case, unless the Court orders otherwise, or

              (b) __XXX__ shall vest in Debtor upon confirmation of the Plan.

       4.     The amounts listed for claims in this Plan are based upon Debtor’s best estimate
              and belief and/or the proofs of claim as filed and allowed. Unless otherwise ordered
              by the Court, the Trustee shall only pay creditors with filed and allowed proofs of
              claim. An allowed proof of claim will control, unless the Court orders otherwise.

       5.     Debtor may attach a summary or spreadsheet to provide an estimate of anticipated
              distributions. The actual distributions may vary. If the summary or spreadsheet
              conflicts with this Plan, the provisions of the Plan control prior to confirmation,
              after which time the Order Confirming Plan shall control.

       6.     Debtor shall timely file all tax returns and make all tax payments and deposits when
              due. (However, if Debtor is not required to file tax returns, Debtor shall provide the
              Trustee with a statement to that effect.) For each tax return that becomes due after
              the case is filed, Debtor shall provide a complete copy of the tax return, including
              business returns if Debtor owns a business, together with all related W-2s and Form
              1099s, to the Trustee within 14 days of filing the return. Unless otherwise ordered,
              consented to by the Trustee, or ordered by the Court, Debtor shall turn over to the
              Trustee all tax refunds in addition to regular Plan payments. Debtor shall not
              instruct the Internal Revenue Service or other taxing

              agency to apply a refund to the following year’s tax liability. Debtor shall not
              spend any tax refund without first having obtained the Trustee’s consent or
              Court approval.

E.     NONSTANDARD PROVISIONS as Defined in Federal Rule of Bankruptcy
       Procedure 3015(c). Note: Any nonstandard provisions of this Plan other than those set

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       out in this section are deemed void and are stricken.
       ________________________________________________________________________
       ________________________________________________________________________
       ________________________________________________________________________



                                       CERTIFICATION

       By filing this document, the Attorney for Debtor, or Debtor, if not represented by an
attorney, certifies that the wording and order of the provisions in this Chapter 13 Plan are
identical to those contained in the Model Plan adopted by this Court, and that this Plan
contains no additional or deleted wording or nonstandard provisions other than any
nonstandard provisions included in Section E.


/s/Andrea Dawn Cochran________                       Date _January 29, 2018____________
Debtor

                                                 ST. JOHNS LAW GROUP


                                                 /s/James Hatfield
                                                 James Hatfield
                                                 Florida Bar Number 87935
                                                 104 Sea Grove Main Street
                                                 Saint Augustine, Florida 32080
                                                 Telephone (904) 495-0400
                                                 jameshatfield@sjlawgroup.com
                                                 Attorneys for the Debtor


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished on
January 29, 2018, to all creditors and parties in interest, as per the attached matrix, through the
Court’s CM/ECF system or by U.S. mail, postage prepaid.


                                                 /s/James Hatfield
                                                 James Hatfield




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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

In re:                                             Case No. 3:18-bk-00039-PMG
                                                   Chapter 13
AANDREA DAWN COCHRAN
    Debtor.                     /

                SUMMARY OF PROPOSED PAYMENT DISTRIBUTIONS

                                        Payment      Payment
     Name of Creditor                   Amount       Months
     St. Johns Law Group                  $47.25      01 – 60
         (Attorneys’ Fees)

     Internal Revenue Service            $250.00      01 – 60
         (Income Taxes)

     Ally Financial                      $300.67      01 – 60
        (Vehicle Loan)

     Carmax                              $544.61      01-60
        (Vehicle Loan)




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Label Matrix for local noticing                             Doc 13 Filed 01/29/18
                                             Andrea Dawn Cochran                                      Page
                                                                                                        Ally 11  of 12
                                                                                                             Financial
113A-3                                       4225 Serena Cir                                              200 Renaissance Ctr
Case 3:18-bk-00039-PMG                       Saint Augustine, FL 32084-7006                               Detroit, MI 48243-1300
Middle District of Florida
Jacksonville
Mon Jan 29 19:47:40 EST 2018
Amex                                         Bryant Cochran                                               CACH LLC
PO Box 297871                                4225 Serena Cir                                              4340 S Monroe St 2nd Fl
Fort Lauderdale, FL 33329-7871               Saint Augustine, FL 32084-7006                               Denver, CO 80237



(p)CAPITAL ONE                                       Car Max Auto Finance                                 CarMax Auto Finance
PO BOX 30285                                         PO Box 440609                                        225 Chastain Meadows Court Suite 210
SALT LAKE CITY UT 84130-0285                         Kennesaw, GA 30160-9511                              Kennesaw, GA 30144-5942



CarMax Business Services, LLC                        Care Credit                                          Florida Dept. of Revenue
225 Chastain Meadows Court,                          950 Forrer Blvd                                      Bankruptcy Unit
Suite 210                                            Kettering, OH 45420-1469                             P.O. Box 6668
Kennesaw, GA 30144-5942                                                                                   Tallahassee, FL 32314-6668


Florida West Coast CU                                Internal Revenue Service                             MG Credit
1225 Millenium Pkwy                                  PO Box 7346                                          5115 San Juan Ave
Brandon, FL 33511-3894                               Philadelphia, PA 19101-7346                          Jacksonville, FL 32210-3137



St Johns County Tax Collector                        St Johns Law Group                                   St. Johns County Tax Collector
PO Box 9001                                          104 Sea Grove Main St                                Dennis W. Hollingswo
Saint Augustine, FL 32085-9001                       Saint Augustine, FL 32080-6308                       Post Office Box 9001
                                                                                                          Saint Augustine FL 32085-9001


United States Attorney                               United States Trustee - JAX 13/7 7+                  Douglas W. Neway +
300 North Hogan St Suite 700                         Office of the United States Trustee                  P O Box 4308
Jacksonville, FL 32202-4204                          George C Young Federal Building                      Jacksonville, FL 32201-4308
                                                     400 West Washington Street, Suite 1100
                                                     Orlando, FL 32801-2210

James Hatfield +                                     Note: Entries with a ’+’ at the end of the
St. Johns Law Group                                  name have an email address on file in CMECF
104 Sea Grove Main St
St. Augustine, FL 32080-6308




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Capital One
15000 Capital One Dr
Richmond, VA 23238
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                   The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Paul M. Glenn                                       (d)Andrea Dawn Cochran                               (d)Internal Revenue Service
Jacksonville                                           4225 Serena Cir                                      PO Box 7346
                                                       Saint Augustine, FL 32084-7006                       Philadelphia, PA 19101-7346



End of Label Matrix
Mailable recipients      22
Bypassed recipients       3
Total                    25
